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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. PANICK

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. PANICK2021 OK 67Case Number: SCBD-7155Decided: 12/13/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 67, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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State of Oklahoma ex. rel. Oklahoma Bar Association, Complainant,
v.
Heather Cathrine Panick, Respondent.


ORDER OF FINAL DISCIPLINE

¶1 The petitioner, Heather Catherine Panick is licensed to practice law in the States of Texas, Oklahoma, and Nebraska. She currently resides in Nebraska, but was suspended by the State of Texas for two years for misappropriating fund from an organization for which she volunteered. Upon consideration of the matter, we determine that:

1) Pursuant to Rule 7.7 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch.1, app. 1-A, the respondent was suspended by the State of Texas for two years;


2) The respondent had a full and fair opportunity to dispute the charges in the State of Texas hearing, but she does not dispute Texas discipline or request a hearing in this State;

3) The misconduct giving rise to the Texas discipline would also have been grounds for discipline in Oklahoma and, although the respondent presented mitigating circumstances, they are insufficient to mitigate to a lesser discipline in Oklahoma.

4) The December 1, 2021, provisionally sealed documents containing personal identifier and other information shall remain sealed.

5) Under Rule 7.7, of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch.1, app. 1-A, we impose that same discipline which Texas imposed.


¶2 IT IS THEREFORE ORDERED that the respondent be suspended from the practice of law in Oklahoma for two years.

¶3 IT IS FURTHER ORDERED that the two years will begin the date this order is filed.

¶4 DONE BY ORDER OF THE SUPREME COURT THE 13th DAY OF DECEMBER, 2021.


/S/CHIEF JUSTICE


Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson,, Gurich and Kuehn, JJ., concur;

Combs, and Rowe, concur in part; dissent in part;



Rowe, J., with whom Combs, J., joins, concurring in part; dissenting in part


I would suspend for two years and one day.



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